Dear Dr. Mallory:
This letter is in response to your request for our review and certification of the Department of Elementary and Secondary Education's State Plan for Part B of the Education of the Handicapped Act as amended by P.L. 94-142 for the fiscal years 1984-1986 inclusive.
Our review has taken into consideration the Education of the Handicapped Act, as amended (20 U.S.C. § 1401 et seq., as amended), and the regulations promulgated pursuant thereto (34 CFR Part 300); Article IX, Sections 1(a), 2(a), and 2(b), Missouri Constitution; Sections 161.092 and 162.670 to 162.995, RSMo 1978; and related provisions.
Based on this review, it is the opinion of our office that:
1.  The Missouri Department of Elementary and Secondary Education is the state educational agency as defined in 20 U.S.C. § 1401(7) and has the authority under state law to submit the State Plan and to administer or supervise the administration of the Plan.
2.  All the provisions of the Plan are consistent with applicable state law.
Very truly yours,
                                  JOHN ASHCROFT Attorney General